Case 2:05-Cr-20048-BBD Document 36 Filed 06/13/05 Page 1 of 2 Page|D 52

 

IN THE UNITED sTATEs DISTRICT coURT HUI’Y{Q£;¢,UC.
FoR THE wEsTERN DIsTRIcT oF TENNESSEE
wEsTERN DIVISIGN 95 JUH 13 PH 5: 33
ROBERT&? hiquLr
\§Ltsazzj§`n§§tc§i
UNITED STATES OF AMERICA, `LD‘OP'N*MHMPHW

Plaintiff,
vs. CR. NO. 05-20043-Ma

DAVID BEAU WARREN,
EWELL COOPER HAYNES,

~_.¢-_¢`-_.--._r-._.¢-._.--._/~._'~_»~_d

Defendants.

 

ORDER ON CONTINUANCE AND SPECIF'YING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date On May 3l, 2005. Defense
counsel requested a continuance of the present trial date in order
to allow for additional preparation in the caSe.

The Court granted the request and continued the trial to the
rotation docket beginning August l, 2005 at 9:30 a.m., With a
report date of Friday, July 22, 2005 at 2:00 p.m.

The period from May 31, 2005 through August l2, 2005 is
excludable under 18 U.S.C. § BlGl(h){S)(B)(iV) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

J'HL

IT IS SO ORDERED this day of June, 2005.

SAMUEL H- MAYS' JR`
"L::`s; al
-; ')cumenf entered on the docket
mm .-iule 55 and/orSE(b) FHCrP on g 423 § e

 

UNITED S'I‘ATES DISTRICT JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in
case 2:05-CR-20048 Was distributed by faX, mail, or direct printing on
June 15, 2005 to the parties listed.

ENNESSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

